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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.1
                                Eastern Division

Jonathan Costello
                                              Plaintiff,
v.                                                           Case No.: 1:17−cv−04209
                                                             Honorable Elaine E. Bucklo
Burr Ridge Hospitality Group, Inc., et al.
                                              Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, January 22, 2018:


        MINUTE entry before the Honorable Elaine E. Bucklo: Parties agreed motion to
dismiss [34] is granted. Enter Agreed Order of Dismissal. All pending dates and motions
are terminated as moot. Civil case terminated. Mailed notice. (mgh, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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